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                                            TEXAS DEPARTMENT                                       OF PUBLIC SAFETY
                                                        5805 N LAMAR      BLVD          BOX 4087   AUSTIN      TEXAS 787730001
                                                                                         5124242000

                                                                                    wwwdpstexasgov




  STEVEN   C McCRAW                                                                                                                                COMMISSION
      DIRECTOR                                                                                                                               A CYNTHIA LEON CHAIR
   DAVID G BAKER                                                                                                                              CARIN MARCY BARTH
  CHERYL MacBRIDE                                                                                                                               RANDY WATSON
 DEPUTY    DIRECTORS




     Thank       you for your participation                            in Election       Identification    Certificate   EIC County Training These
     instructions                           will   help prepare   your county to attend training



     Deadlines                   Please report your training attendance                       to the   Department of Public Safety         DPS no later
     than Friday October                               4 2013 by 500 pm Please include the name of the employees                             attending

     from your county                                Because of limited seating DPS asks that you limit your attendance                      to   no more
     than 2 employees                                Please   email your countys attendance               information to   Mr MA Tony
     Rodriguez                   at          EICdpstexasgov             or at 5124245657



     IMPORTANT       NOTE At training your county will be receiving the equipment to complete EIC
     transactions in 2 plastic bins to take back to your county Each bin 30 gallon size 316 X 194                  is


     X 171 The training includes how to set up the equipment at your county office

     Location Date                                 and Time    The   training is    1   day from 900       am to 300 pm with          1   hour for lunch

     Page 2 lists your training site location and date of training by county                                             Page 4 lists the training sites
     with information to help your employees                                            prepare for training



     Travel       Travel to training is in accordance                               with your countys travel policy            DPS will    not be

     reimbursing for travel                              expenses DPS        will   not be providing        lunch to students



     What to Bring Please be prepared                                   to   take notes during class



     Contact Information If you have                                   any questions regarding training             please contact   Mr MA Tony
     Rodriguez                   at          EIC dpstexasgov            or at 5124245657




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                       exhibitsticker.com




                                                                               EQUAL OPPORTUNITYEMPLOYER
09/02/2014                                                                    COURTESY  SERVICE   PROTECTION




DEF1442
                                                                                                                                                                    TEX0505964
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                                        Training   Locations   and Dates

        County                            Training   Site                        City       Date

ARANSAS             Coastal   Bend College                                 Beeville     October 8

ARCHER              Garland   DL Megacenter                                Garland      October 9

ARMSTRONG           Panhandle      Regional Planning Commission            Amarillo     October 9

AUSTIN              Sam Houston       State   University                   Huntsville   October 9

BANDERA             Concho Valley Council of Governments                   San Angelo   October 8

BLANCO              Concho Valley Council of Governments                   San Angelo   October 8

BORDEN              Texas   Tech    Health Science    Center               Lubbock      October 8

BRISCOE             Texas   Tech    Health Science    Center               Lubbock      October 8

CALDWELL            Coastal   Bend College                                 Beeville     October 8

CAMP                Garland   DL Megacenter                                Garland      October 9

CLAY                Garland   DL Megacenter                                Garland      October 9

COCHRAN             Texas   Tech    Health Science    Center               Lubbock      October 8

COKE                Concho Valley Council of Governments                   San Angelo   October 8

COLLINGSWORTH       Panhandle      Regional Planning Commission            Amarillo     October 9

CONCHO              Concho Valley Council of Governments                   San Angelo   October 8

COTTLE              Texas   Tech    Health Science    Center               Lubbock      October 8

CROCKETT            Concho Valley Council of Governments                   San Angelo   October 8

DELTA               Garland   DL Megacenter                                Garland      October 9

DICKENS             Texas   Tech    Health Science    Center               Lubbock      October 8

DIMMIT              Coastal   Bend College                                 Beeville     October 8

DUVAL               Coastal   Bend College                                 Beeville     October 8

EDWARDS             Concho Valley Council of Governments                   San Angelo   October 8

FALLS               Sam Houston       State   University                   Huntsville   October 9

FAYETTE             Sam Houston       State   University                   Huntsville   October 9

FOARD               Texas   Tech    Health Science    Center               Lubbock      October 8

FRANKLIN            Garland   DL Megacenter                                Garland      October 9

FRIO                Coastal   Bend College                                 Beeville     October 8

GARZA               Texas   Tech    Health Science    Center               Lubbock      October 8

GLASSCOCK           Concho Valley Council of Governments                   San Angelo   October 8

GOLIAD              Coastal   Bend College                                 Beeville     October 8

GRIMES              Sam Houston       State   University                   Huntsville   October 9

HALL                Texas   Tech    Health Science    Center               Lubbock      October 8

HANSFORD            Panhandle      Regional Planning Commission            Amarillo     October 9

HARTLEY             Panhandle      Regional Planning Commission            Amarillo     October 9

HUDSPETH            El Paso     Scott    Simpson Driver License Office     El Paso      October 9

IRION               Concho Valley Council of Governments                   San Angelo   October 8

JACK                Garland   DL Megacenter                                Garland      October 9

JACKSON             Coastal   Bend College                                 Beeville     October 8

JEFF DAVIS          El Paso     Scott    Simpson Driver License Office     El Paso      October 9

JIM HOGG            Coastal   Bend College                                 Beeville     October 8

KARNES              Coastal   Bend College                                 Beeville     October 8

KENEDY              Coastal   Bend College                                 Beeville     October 8

KENT                Texas   Tech    Health Science    Center               Lubbock      October 8

KING                Texas   Tech    Health Science    Center               Lubbock      October 8

KINNEY              Concho Valley Council of Governments                   San Angelo   October 8

LA SALLE            Coastal   Bend College                                 Beeville     October 8

LIPSCOMB            Panhandle      Regional Planning Commission            Amarillo     October 9

LOVING              El Paso     Scott    Simpson Driver License Office     El Paso      October 9



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                                   Training     Locations   and Dates

     County                           Training    Site                        City       Date

LYNN             Texas   Tech    Health Science    Center               Lubbock      October 8

MADISON          Sam Houston       State   University                   Huntsville   October 9

MARION           Garland   DL Megacenter                                Garland      October 9

MASON            Concho Valley Council of Governments                   San Angelo   October 8

MCMULLEN         Coastal   Bend College                                 Beeville     October 8

MENARD           Concho Valley Council of Governments                   San Angelo   October 8

MOTLEY           Texas   Tech    Health Science    Center               Lubbock      October 8

NEWTON           Sam Houston       State   University                   Huntsville   October 9

OLDHAM           Panhandle      Regional Planning Commission            Amarillo     October 9

POTTER           Panhandle      Regional Planning Commission            Amarillo     October 9

REAL             Concho Valley Council of Governments                   San Angelo   October 8

REFUGIO          Coastal   Bend College                                 Beeville     October 8

ROBERTS          Panhandle      Regional Planning Commission            Amarillo     October 9

ROBERTSON        Sam Houston       State   University                   Huntsville   October 9

SABINE           Sam Houston       State   University                   Huntsville   October 9

SAN AUGUSTINE    Sam Houston       State   University                   Huntsville   October 9

SAN JACINTO      Sam Houston       State   University                   Huntsville   October 9

SAN SABA         Concho Valley Council of Governments                   San Angelo   October 8

SCHLEICHER       Concho Valley Council of Governments                   San Angelo   October 8

SHACKELFORD      Garland   DL Megacenter                                Garland      October 9

SHERMAN          Panhandle      Regional Planning Commission            Amarillo     October 9

SOMERVELL        Garland   DL Megacenter                                Garland      October 9

STERLING         Concho Valley Council of Governments                   San Angelo   October 8

STONEWALL        Texas   Tech    Health Science    Center               Lubbock      October 8

TERRELL          Concho Valley Council of Governments                   San Angelo   October 8

THROCKMORTON     Garland   DL Megacenter                                Garland      October 9

TRINITY          Sam Houston       State   University                   Huntsville   October 9

UPTON            Concho Valley Council of Governments                   San Angelo   October 8

WHEELER          Panhandle      Regional Planning Commission            Amarillo     October 9

WILLACY          Coastal   Bend College                                 Beeville     October 8




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                                                 Training      Site      Information


Coastal Bend College

3800 Charco Road Beeville               Texas 78102

George F Elam TechnicalVocational                  Building         Room      116

Campus Map httpwwwcoastalbendedubeeville                                  Building     E on campus map
Parking Information           httpwwwcoastalbendedubeeville
Restaurant Information          Google Link Here

Training Date and Time October                 8 900 am to 300 pm

Concho Valley Council of Governments

2801 West Loop 306            Suite   A San Angelo Texas 76904
Google Maps Google Link Here

Parking Information           Parking   is   in the lot in front     and on the side of the building

Restaurant Information          Google Link Here

Training   Date and Time October               8 900 am to 300 pm

El Paso      Scott   Simpson Driver License Office
11612   Scott    Simpson Drive El Paso Texas 79936
Let the front desk         know you are attending the EIC County Training                   and you will be escorted   to   the

conference      room

Google Maps Google Link Here
Parking Information           Parking   is   in the lot   located    at the   Driver License Office

Restaurant Information          Google Link Here

Training   Date and Time October 9 900                    am to 300 pm

Garland    DL Megacenter
4445A      Saturn    Road Garland Texas 75043
Let the front desk     know you are attending the EIC County Training                       and you will be escorted   to   the

conference      room

Google Maps Google Link Here
Parking Information           Parking   is   in the lot   in front of the     office

Restaurant    Information       Google Link Here

Training Date and Time October 9 900                      am to 300 pm

Panhandle    Regional Planning Commission

415 Southwest        8th   Avenue     Amarillo Texas 79105

Google Maps Google Link Here
Parking Information           Parking   is   in the lot   behind the office

Restaurant    Information       Google Link Here

Training   Date and Time October 9 900                    am to 300 pm




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Sam Houston          State   University

816    17th   Street Huntsville      Texas 77340

College       of Criminal Justice     Building Texas      Room       1st
                                                                           Floor Room Al 19

Campus Map httpwwwshsuedumap                           Section   9 on map

Building      Map httpwwwshsuedudotAsset34e2e525dbbb4397a2e47b8890fcb88epdf
Parking Information           httpwwwshsueduupdwwwgarage
Restaurant Information            Google Link Here

Training      Date     and Time    October    9 900 am to 300 pm

Texas Tech Health Science Center
3601    4th   Street   Lubbock     Texas 79430

Health    Science Center Building 2nd Floor             Room 2C221
At the information desk           in the   building   you can be     directed to   the classroom

Campus Map httpwwwttuhsceduContactscampusMapslubbockMappdf
Parking Information           Park in visitor parking

Restaurant Information            Google Link Here

Training Date and Time October                8 900 am to 300 pm




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